                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 LATERAL RECOVERY LLC,
 BENCHMARK BUILDERS, INC., FTE
 NETWORKS, INC., JUS-COM LLC and
 FOCUS WIRELESS, LLC,

                               Plaintiff,              Case No. 1:22-cv-09876

         v.

 UNIQUE FUNDING SOLUTIONS LLC,
 YAAKOV WINOGRAD a/k/a JAKE
 WINOGRAD, and JOHN and JANE DOE
 INVESTORS,

                               Defendants.

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE AS
                            TO ALL DEFENDANTS


        PLEASE TAKE NOTICE that pursuant to F.R.C.P. 41(a)(1)(A)(i), Plaintiffs hereby

Voluntarily Dismiss this action with prejudice and without costs as to all Defendants.

Dated: January 4, 2023

                                                 WHITE AND WILLIAMS LLP


                                                 By:

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